CIVIL COVERSHEET /©

J8 44 (Rev. 06/17)

The 5S 44 civil cover wl ’ d herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of Cou is form, approved by the Judicial Conference of the nited States in September 1974, is required:forthe use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM) : eS

I. (a) PLAINTIFFS DEFENDANTS

Alls Pars. Bank, M

(b) County of Residence of First Listed Plaintiff [Or 4
(EXCEPT IN U.S, PLAINTIFF fA

y

County of Residence of First Listed Defendan
(IN US. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVE

0. Attorneys (Firm Name, Address, and Telephone Attorneys (if Known) 2 { 5 ~ 8 6 “ 2 73

7,58 63- .
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err VE eel sega ht Ten 4103 (Dosh, ¢ Thames £ pgoc. Wt. Cheskye WP Shem

Il. BASIS OF JURISDIC plist (Place an “X" in Qne Box Only) IH. CITIZENSHIP OF PRINC, L PARTIES (Place an “X" in One Cork a

(For Diversity Cases Only)

and One Box for Defendant) t
(11 U.S. Government 93 Federal Question PT er | 137
Plaintiff (U.S {government Not a Party) Citizen of This State Incorporated or Principal Place 4
of Business In This State
2 U.S. Government 4 Dyrersity Citizen of Another State Ku Incorporated aud Principal Place os
Defendant (indicate Citizenship of Parties in [rem IIL) of Business In Another State

Citizen or Subject of a Foreign Nation

Foreign Country
IV. NATURE OF SUIT (Ptace an “x” in One Box Only)
{ i TORT, FORFELFURE/PEMAT-LY:

C1 410 Insurance PERSONAL INJURY PERSONAL INJURY = |(F 625 Drug Related Seizure 0] 422 Appeal 28 USC 158 f 375 False Claims Act
0 120 Marine 310 Airpiane 1 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal & 376 Qui Tam (31 USC
0 130 Miller Act 0 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a})
0 149 Negotiadle Instrument Liability 0 367 Health Care/ © 400 State Reapportionment
(J 150 Recovery of Overpayment |) 320 Assault, Libel & Pharmaceutical 5 ( 410 Antitrust

& Enforcement of Judgment Slander Personal Injury O #20 Copyrights (] 430 Banks and Banking
(151 Medicare Act 0 330 Federal Employers’ Product Liability J 830 Patent 1 450 Commerce
G 152 Recovery of Defaulted Liability G 368 Asbestos Personal 7 835 Patent - Abbrevinted 460 Deportation

Student Loans . 0) 340 Marine Enjury Product New Deng Application | 470 Racketeer Influenced and

{Excludes Veterans) 7 345 Marine Product Liability 840 Frademark Corrupt Organizations
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of Veteran’s Benefits 0 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards 861 HIA (1395ff} (1 490 Cable/Sai TY
160 Stockholders’ Suits 0 355 Mator Vehicle CO) 371 Truth in Lending Act © 862 Black Lung (923) C1 850 Securities‘Commodities!
O 199 Other Contract Product Liability © 380 Other Personal 1 720 Labor/Management C] 863 DIWC/DIWW (405(g)) Exchange
195 Contract Product Liability [| 360 Other Personal Property Damage Relations C} 864 SSID Title XVI C1 890 Other Siatutory Actions
O 196 Franchise Injury O 385 Property Damage 1 740 Railway Labor Act O 865 RSI (405(g)) 1 891 Agriceltural Acts

(4 362 Personal Ingary - Product Liabitity G 751 Family and Medical (1 893 Environmental Matters
Medical Malpractice Leave Act (1 895 Freedom of Information

ee CIvVIE RIGHTS "FEPRISONER PETIFIONS <|(C) 790 Other Labor Litigation ePEDERAL TAX:SUITS = Act
0 440 Other Civil Rights Habeas Corpus: 0 741 Employee Retirement O 870 Taxes (U.S. Plaintiff 0) 896 Arhitvation
O) 441 Voting O 463 Alien Detainee Income Security Act or Defendant} 1 899 Administrative Procedure
01 442 Employment O 510 Motions to Vacate C) 871 IRS—Third Party Act/Review or Appeal of
1 443 Housing/ Sentence 26 USC 7609 Agency Decision
Accommodations 0 530 General 930 Constitutionality of
0 445 Amer. w/Disabilities -]0 535 Death Penalty SMMIGRA TION State Statutes
Employment Other: C7) 462 Naturalization Application
C446 Amer. w/Disabilities -]0 540 Mandamus & Other | 465 Other Immigration
Other O 550 Civil Rights Actions
C7 448 Education © 555 Prison Condition
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Conditions of
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(specify} Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes antes diversity): i g U5 C /3 yf |

VI. CAUSE OF ACTION

: —— - 7
Brief description of cause: Bs cee I, ¢y rt i Ve for rr Ly yy O54 el

VIE. REQUESTEDAN ~— Gs CHECK IF THIS IS A CLASS ACTION DEMANDS ("CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: Oy¥es ONo
VIH. RELATED CASE(S) Tv J

IF ANY (See instructions): JUDGE A A ( \ Ps x DOCKET NUMBER i TI 5 0 [ 00 G
DATE | / [ ¢ SIGNAZURE OF ATE@RNEY OF RECORD

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FOR OFFIGE USE DNLY ee

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

Case 2:18-cv-02669-MAK Document1 Filed 06/26/18 Page 2 of 28
UNITED STATES DISTRICT COURT
gE EASTERN DISTRICT OF PENNSYLVANIA s g

DESIGNATION FORM a 6 6 9

if DIGS fe idicate the category of the case for the purpose of assignment to the appropriate calendar)

Address of Plaintiff: $ f 3 yl Ste f ,eu/ Bid. toc M rif Sé 2 qf 0S

(to be used by

Address of Defendant: a2 CL Eryn awe Apt. HG Phi le. fA fGrg/

Place of Accident, Incident or ‘Transaction: 52a) fd. ‘ ada gov, A v& HL Phils. bd 713 /

RELATED CASE, IF ANY:
Case Number: (“7 00! D OG Judge: L At R&R C & Fo ¥¢ Date Terminated: M4.

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Ts this case related to property included in an earlier numbered suit pending or within one year Yes ey
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes pa}
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [|
numbered case pending or within one year previously terminated action of this court?

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [|
case filed by the same individual?

I certify that, to my knowledge, the within case [1] } / ff is, got related to any case now pending or within one year previ

this court except lay above,
DATE:

action in

Aftorney-at- Law / Pro Se Plaintiff! Attorney 1D. # (if applicable)

CIVIL: (Place a ¥ in one category only)

Federal Question Cases: Diversity Jurisdiction Cases:

f Social Security Review Cases (Please specify):

B.
1. Indemnity Contract, Marine Contract, and All Other Contracts L] 1. Insurance Contract and Other Contracts
2. FELA L] 2. Airplane Personal Injury
3, Jones Act-Personal Injury LI 3. Assault, Defamation
4, Antitrust ( 4. Marine Personal Injury
5. Patent Lj 5. Motor Vehicie Personal Injury
6. Labor-Management Relations Ci 6. Other Personal Injury (Please specify):
7. Civil Rights Li 7. Products Liability
8. Habeas Corpus Li 8. Products Liability — Asbestos
9. . Securities Act(s) Cases Li 9%. Altlother Diversity Cases
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. All other Federal ion C
Pleare specify) Question Cases (F U SC J 34/

NU) @odoooooooo =

ARBITRATION CERTIFICATION
: he effect of this certification is to remove the case from eligibility for arbitration.)

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, guant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
geed the sum of $150,000.00 exclusive of interest and costs: vy
2 3 [fo # m a a
Relief other than monetary damages is sought. JU N é B du iu

ches ie ite tom —— 312476

644 S counsel of record or pro se plaintiff, do hereby certify:

DA

Attorney-at-Law / Pro Se Plaimiff Attorney LD. # (if applicable)

NOTE: A triaf de novo will be a trial by jury only if there has been compliance with F.R.C,P. 38,

Civ, 609 (3/2018)

Case 2:18-cv-02669-MAK

FOR THE EASTERN DISTRICT OF PENNSYLVANIA
CASE MANAGEMENT TRACK DESIGNATION FORM

wells Tage Gon b NA. : CIVIL ACTION

Taran ake Can, Lh, al Non 4 0 O68 gy

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and ail other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( }

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. { )

(e} Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special

management cases.) (
(f) Standard Management — Cases that do not fall into any one of the other tracks. Or
6 lide 65h. new £6 Taare John $a
Date § § Attorney-at-law Attorney for
2is-$0G-1734 __ C-F (4-9 Ho $0 thus L- Torna Gg, al
Telephone FAX Number E-Mail Address S$

ot,

(Civ, 660) 10/02

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Case 2:18-cv-02669-MAK Document1 Filed 06/26/18 Page 4 of 28

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA a

WELLS FARGO BANK, N.A, ~¥/ uM

Nal howler A Moar qace Fab e/m/A CIVIL ACTION NO..:
Plaintiff, ‘Wears SANINGS EB AN K
Fae Civil Action 2 oy @
‘8B 2669

TARANT A, JOHNSON

And COURT OF COMMON PLEAS
PHILADELPHIA COUNTY
STATE TRUSTEE SERVICES, LLC AS CIVIL DIVISION
TRUSTEE OF WEST MONTGOMERY
LAND TRUST No. 171001006
Defendants.

PLEASE TAKE NOTICE that the Defendant TARANI A. JOHNSON (Defendant), through
her undersigned counsel, hereby files this Notice of Removal Pursuant to 28 U.S.C. §1441,
because the subject matter of the action is within the original jurisdiction of the Eastern District
Court of PA pursuant to 28 U.S.C. §§1332(a) and 1367. The Defendant hereby removes to the
Eastern District Court of PA all claims and causes of action in the civil WELLS FARGO BANK,
N.A, VS JOHNSON ETAL, in the Philadelphia Court of Common Please, Docket number
171001006 (The State Action”)
The grounds for removal are as follows:
1. The District Court has removal jurisdiction under 28 U.S.C. §1331, because the subject
matter of the action is within the orginal jurisdiction of the district court pursuant to

Federal Court Jurisdiction.
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Case 2:18-cv-02669-MAK Document1 Filed 06/26/18 Page 5 of 28

The Defendant attempted to make payments with Federally imsured bonds to payoff the
loan in this matter.

The payments were confirmed received, but allegedly improperly returned by Plaintiff.

Problematically, these bonds were not received back by Defendant in a timely manner, as

such, it is unclear what Plaintiff did with said bonds.
Further, Plaintiff did not give a proper reason for not accepting, and applying the face
value of those bonds to the total amount owed by Defendant in this matter.
The alleged act of improperly returning those bonds was a breach of 18 U.S. Code §
134].
There are two elements in mail fraud:
a. (1) having devised or intending to devise a scheme to defraud (or to perform
specified fraudulent acts), and
b. (2) use of the mail for the purpose of executing, or attempting to execute, the
scheme (or specified fraudulent acts).”
Schmuck y. United States, 489 U.S. 705, 721 n. 10 (1989).
In this case, the underlying Foreclosure action was filed on October 7, 2017 at docket
number 171001006. (See Exhibit A).
After that time, Defendant sent payment, in full, via a Federal Bond.
Plamtiff’s attorney confirmed receipt of this payment, however Plaintiff apparently
returned these bonds, and chose not to apply them, rather choosing to pursue a now
improper Foreclosure action.
They allegedly sent the bonds back in the mail, yet to date, Defendant did not receive

them.

12.

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15.

16.

action.

Dated: June 18, 2018 /sif'¥

Case 2:18-cv-02669-MAK Document1 Filed 06/26/18 Page 6 of 28

Even if Defendant does received them, it is still fraud, as the payments would have paid
of the mortgage in full, Plaintiff is instead choosing to pursue a Foreclosure actions
improperly.

Bringing this improper case to fruition would be committing a sever act of fraud, by
taking Defendant’s house improperly.

Plaintiff admitted to using the mail service to perpetuate this fraud.

As such, there is no question that Plaintiff has violated 18 U.S. Code § 134] by
attempting to proceed with this action,

If the court finds these facts to be true, they can, and should, dismiss the underlying
action with prejudice, and sanction the plamtiff accordingly.

WHEREFORE, Defendant requests that the Court dismiss the underlying Foreclosure

ae ee

(eshurl.. Thomas
Josip L. Thomas & Associates, PLLC
Joshua L. Thomas, Esq.

Supreme Court ID No. 312476

225 Wilmington-West Chester Pike

Suite 200

Chadds Ford, PA 19317

Phone:2 15-806-1733

Fax: 888-314-8910

E-nail: JoshuaLThomas@gmail.com

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CERTIFICATION OF SERVICE

l hereby certify that on June 18, 2018 I caused to be mailed a copy of the foregoing
pleadings on behalf of the Defendants to attorneys for plaintiff, PHELAN HALLINAN 1617
JFK BLVD SUITE 1400 PHILADELPHIA PA 19103.

ON, ee —
Dated: June 18, 2018 /s# Joshua L. Thomas

Poshua L. Thomas, Esquire

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PHELAN HALLINAN DIAMOND & JONES, LLP ATTORNEY FOR PLAINTIFF
Abigail Brunner, Esq., Id. No.319034

1617 JFK Boulevard, Suite 1400

One Penn Center Plaza

Philadelphia, PA 19103

Abigail. Brunner@phelanhallinan.com

215-563-7000

IN THE COURT OF COMMON PLEAS OF
PHILADELPHIA COUNTY, PENNSYLVANIA

WELLS FARGO BANK N.A. S/B/M WACHOVIA
MORTGAGE FSB F/K/A WORLD SAVINGS BANK CIVIL DIVISION
FSB
3476 STATEVIEW BOULEVARD NO.:
FORT MILL, SC 29715
Plaintiff,
V5.

TARANI A. JOHNSON
2285 BRYN MAWR AVENUE, APT 116
PHILADELPHIA, PA 19131-2509

STATE TRUSTEE SERVICES, LLC AS TRUSTEE
OF WEST MONTGOMERY LAND TRUST

6375 SOUTH PECOS ROAD, SUITE 200

LAS VEGAS, NV 89120-3270

Defendants.

You have been sued in court, If you wish to defend against the claims set forth in the following pages, you niust take
action within twenty (20) days after this complaint and notice are served, by entering a written appearance
personally or by attorney and filing in writing with the court your defenses or objections to the claims set forth
against you. You are warned that if you fail ta do so the case may proceed without you and a judgment may be
entered against you by the court without further native fF any money claimed in the complaint or for any other
claim or relief requested by the plaintiff. You may lose money or property or other rights important to you.

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062-PA-V7 PH # 978201
Case 2:18-cv-02669-MAK Document 1 Filed 06/26/18 Page 10 of 28

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO NOT HAVE A LAWYER,
GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS OFFICE CAN PROVIDE YOU WITH
_ INFORMATION ABOUT HIRING A LAWYER.

IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO PROVIDE YOU WITH
INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A
REDUCED FEE OR NO FEE.

Lawyer Referral and Information Service
Philadelphia Har Association
1101 Market Street
11th Floor
Philadelphia, PA 19107
Telephone (215) 238-6333

(SEE ATTACHED ESPANOL AVISO)
AYISO

Le han demandado a usted en la corte. Si usted desea defenderse de las demandas expuestas en las paginas
siguientes, debe tomar accidn dentro de veinte (20) dias al partir de la fecha de la demanda y el aviso y debe asentar
una comparencia escrita, en persona o con un abogado y entregar a la corte en forma escrita sus defensas 0 sus
objeciénes a las demmandas en su contra. Sea avisado que si usted no se defiende, el caso puede proceder sin usted y
5e puede regisirar una sentencia eontra usted por la corte sin otro aviso para cualquier dinero reclamado en esta
dernanda u otros reclamos © compensacién solicitado por el demandante. Usted puede perder dinero o sus
propiedades u otros derechos importante para ti.

USTED DEBE LLEVAR ESTE PAPEL A SU ABOGADO CUANTO ANTES. $1 USTED NO TIENE
UN ABOGADO, VAYA O LLAME POR TELEFONO A LA OFICINA QUE ESTA SIGUIENTE. ESTA
OFICINA PUEDE PROVEERLE INFORMACION SOBRE COMO CONSEGUIR UN ABOGADO,

SIUSTED NO PUEDE PAGAR POR LOS SERVICIOS DE UN ABOGADO, FESTA OFICINA PODRIA
PROVEERLE INFORMACION SOBRE AGENCIAS QUE OFRECEN SERVICIOS LEGALES GRATIS O BAJO
COSTO PARA PERSONAS ELEGIBLE.

ASSOCATION DE LICENCIDADOS DE FILADELFIA
SERVICE DE REFERENCIA E INFORMACION LEGAL
1101 MARKET STREET, 11TH FLOOR
PHILADELPHIA, PA 19107
(215) 238-6300

CIVIL ACTION - COMPLAINT IN MORTGAGE FORECLOSURE

And now comes WELLS FARGO BANK N.A. $/B/M WACHOVIA MORTGAGE FSB
F/K/A WORLD SAVINGS BANK FSB, by its attorneys, Phelan Hallinan Diamond & J ones,

LLP and files this Complaint in Mortgage Foreclosure as follows:

Case Po: 171007006
062-PA-V7 PH #978201
Case 2:18-cv-02669-MAK Document 1 Filed 06/26/18 Page 11 of 28

L. The Plaintiff is WELLS FARGO BANK N.A, S/B/M WACHOVIA
MORTGAGE FSB F/K/A WORLD SAVINGS BANK FSB, 3476 STATEVIEW
BOULEVARD, FORT MILL, SC 29715 (hereinafter "plaintiff").

2, The Defendant is, TARANI A, JOHNSON, with a last known address of 2285
BRYN MAWR AVENUE, APT 116, PHILADELPHIA, PA 19131-2509,

3, The Defendant is, STATE TRUSTEE SERVICES, LLC AS TRUSTEE OF
WEST MONTGOMERY LAND TRUST, with a last known address of 6375 SOUTH PECOS
ROAD, SUITE 200, LAS VEGAS, NV 89120-3270.

4, In order to protect the borrower's privacy, certain personal information of the
borrower (such as loa aééoult, Sééial Security numbers and birth dates), may havé béen
partially or completely redacted on the exhibits to this Complaint.

5. WELLS FARGO BANK N.A, S/B/M WACHOVIA MORTGAGE FSB F/K/A
WORLD SAVINGS BANK FSB, direetly or through an agent, has possession of the Promiasory
Note. WELLS FARGO BANK N.A. 8/B/M WACHOVIA MORTGAGE FSB F/K/A WORLD
SAVINGS BANK FSB is either the original payee of the Promissory Note or the Promissory
Note has been duly indorsed. A copy of said Promissory Note is marked Exhibit "A", attached
hereto and made a part hereof.

6. On or about March 30, 2007, TARANI A. JOHNSON made, executed and
delivered to WORLD SAVINGS BANK, FSB a Mortgage in the original principal amount of
$127,500.00 on the premises described in the legal description marked Exhibit "B", attached
hereto and made a part hereof. Said Mortgage was recorded in the Office of the Recorder of
PHILADELPHIA County on April 20, 2007, in Document ID 51676531. The Mortgage is a
matter of public record and is incorporated herein by reference in accordance with Pa.R.CP.
1019{g), which rule relieves the Plaintiff from its obligation to attach documents to pleadings if
those documents are of public record.

7. Plaintiff is the current Mortgages by Successor by Merper to the Original
Mortgagee.

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062-PA-V7 PH #978201

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8, TARANI A. JOHNSON and STATE TRUSTEE SERVICES, LLC AS
TRUSTEE OF WEST MONTGOMERY LAND TRUST are the record and real owners of the
aforesaid mortgaged premises.

Q, Defendants are in default under the terms of the aforesaid Mottgage for, inter
alia, failure to pay the installments of principal and interest due March 1, 2009.

10. As of 09/29/2017, the amount due and owing Plaintiff on the mortgage is as

follows:

Principal $133,857.00
Interest

From 02/01/2009 to 09/29/2017 $88,679.56
Late Charges $1,612.08
Escrow Advance $20,425,21
Property Inspections $445.00
Property Preservation $0.00
BPO/Appraisal $455.00
Escrow Balance $0.00
Corporate Advance Credit ($345.00)
Total $245,128.85

plus interest and all other additional amounts authorized under the Mortgage and Pennsylvania
Law, actually and reasonably incurred by Plaintiff, including but not limited to, costs (including
escrow advances) and Plaintiff's attorneys’ fees and expenses. Plaintiff reserves the right to file
a4 motion in the above-captioned action to add such additional sums authorized under the

Mortgage and Pennsylvania Law to the above amount due and owing when incurred.

11. Notice of Intention to Foreclose as set forth in Act 6 of 1974, Notice of
Homeowner's Emergency Mortgage Assistance Program pursuant to Act 91 of 1983, as amended
in 2008, and/or Notice of Default as required by the mortgage document, as applicable, have
been sent to the Defendant(s). A copy of said Notice is marked Exhibit "C", attached hereto and
made a part hereof.

12. This action does not come under Act 91 of 1983 because the mortgaged premises

is not the principal residence of the mortgagor.

Clase [D> 17 EGO1LOGS
062-PA-V7 PH #978201
Case 2:18-cv-02669-MAK Document 1 Filed 06/26/18 Page 13 of 28

13, This is an in rem action only against the aforesaid mortgaged premises, Plaintiff
is not seeking a judgment of personal liability against the Defendant(s), but reserves its right to
do so in a separate legal action if such ri ght exists. If Defendant(s) have received a discharge of
personal liability in a bankraptcy proceeding, this action is in no way an attempt to re-establish

such liability.
WHEREFORE, Plaintiff demands an in rem judgment in mortgage foreclosure for the
amount due of $245,128.85, with interest thereon plus additional costs (including additional

escrow advances), additional attomeys’ fees and costs and for foreclosure and sale of the

» — VI

Date: OCT 9 8 2017 Abigail Branner, Esq,, Id. No.319034
Attorney for Plaintiff

mortgaged premises.

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062-PA-V7 PH #978201
Case 2:18-cv-02669-MAK Document 1 Filed 06/26/18 Page 14 of 28

VERIFICATION

Cindy Holmes, hereby states that she is Vice President Loan Documentation, of
WELLS FARGO BANK, N.A., plaintiff in this matter, that she is authorized to make this
Verification, and verify that the statements made in the foregoing Civil Action in

Mortgage Foreclosure are true and correct to the best of her information and belief. The

undersigned understands that this statement is made subject to the penalties of 18 Pa. C.S.

Sec, 4904 relating to unsworn falsification to authorities.

(Gays

Name: Giny Holmes

‘Title: Vice President Loan Documentation
Company: Wells Fargo Bank, N.A.
Date: 10/02/2017

062-PA-V7 FILE# 978201

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Exhibit “A”

fase [Db 17 (OG, 006

Case 2:18-cv-02669-MAK Document 1 Filed 06/26/18 Page 16 of 28

WORLD SAVINGS BANK, F5B
FIXED RATE MORTGAGE NOTE
PICK-A-PAYMENT” LOAN

THIS NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES iN MY MONTHLY PAYMENT AND MY UNPAID
PRINGIPAL BALANCE, MY MONTHLY PAYMENT INGREASES ANO MY PRINCIPAL BALANCE INCREASES ARE
UMITED, THIS NOTE IS SECURED BY A SECURITY INSTRUMENT OF THE SAME DATE.

—— Orv: March 90, 2007

BORROWER(S): TARAAY A.JCOHNSON, AN UNMARRIED WOMAN = 4ometimes called “Borower’ and sometimes simply
callad “I'es “me.” .

PROPERTY ADURESS: 5200 W MONTGOMERY AVE H, PHILADELPHIA, PA 19134-3303

i. BORROWER'S PROMISE TO PAY

in return for a loan that | have raceivad, | promise to pay U.S. $127,800.00 , caled "Principal." plus Interest, ia the order of the
Langer. The Lander is WORLD SAVINGS BANK, FSB, a FEDERAL SAVINGS BANK, ITS SUCCESSORS ANDIOR
ASSIGNEES, or anyone to whors this Nolte |s tansterred,

2. INTEREST

Interest will be charged on unpaid Principad until she full ampynt of Principad tas been pald. | sai pay Interest at the yeady eaie of
7.850% interest will be charged on the basis ofa telve month year anda thirty day month,

The interest rate required hy this Section 2 is the fate | will pay Doth fefore and afer any default desoibad In Section 7(8) af this
Neate.

“at

SD253A (2006-08-72) [AI1 (7008.00-9)) FIXED PICKA-PAYMENT NOTE
Pago!

Case 2:18-cv-02669-MAK Document 1 Filed 06/26/18 Page 17 of 28

a. PAYMENTS
(A) Time and Place of Payments
Iwib. pay Principal and interes! by making payments every month,

Iwill make my monthly payments on the Ist cay of gach month beginning on May 4, 2007, ¢ will make these payments every
mordh wnill ? have paid gi) all the Principal and inlevest; and {i} any other charges describad below Mat | may owe under this Note; and
Gti} any charges (nat may be due uader the Seeurily Inatiument. If, on April 1, 2087, | stilt ove amounts under this Note, i wil pay
Those smaunts in ful on that date, which fp called the “Matutiy Date.”

twill make my monthly payments at 7904 HARRISON STREET, OAKLAND, CALIFORNIA 94612 or at a diferent
piace if required by nollce from the Lendee,

(8) Amount of My Initial Monthiy Payments

Each of my initial monthly payments will be in the amount of U.S. § 560.48. Ths amount will charge as desmined in Seciona
3¢C} and 3{D} below. My inlilad monthly payment amaunt wag selerted by me from a range of iniliat payment amounts appreved by
Lender and may aol be suffciery tp pay ihe entire amount ofintezesl socriing of the unpaid Principal balance.

(C} Payment Change Dates

My monthly payment will change as required by Seciion 3(0} below beginaing on the #8t day of May, 2008 and an that day
every 12th month fhereafles watt Ihe 124 St month, which wil be ihe final payment change. Ench of these dates Ig called a “Payment
Change Date.” My monthly payment wil slso change at ary (ime Section fF} or 3(3} bey requires me to pay a different amount,

1 wil pay the amount of try naw monthly payment each month beginning on each Paymant Change Oale and 26 provided in
Section 3(F) or 4(G} betow,

iG} Galcutation of Payment Changes

Subject ia Secfions 4(F) and 3(43}, on the Payment Change Date my monthly payment may de changed to an ernount sufficient te
pay the unpaid principal kalence together wilh interesi, incfuding any deferred inlerest as describad in Spetion 3(E} below, by the
Meluity Date. However, the amount by which my payment can be increased wilt not be more 1han 7-1/2 OF the then existing Principal
and iverest payment. This 7-172% Emilation Is cated the "Payment Gap," The Lender will paronn this Payment Ghange caiculalign at
least 60 bul net more han 60 days hefore Ihe Payment Change Date,

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{E} Deferred Interest: Additions to My Unpaid Principal

From lime to ime, my monthly payments may be insufficient tu pay Ene telat ammount of eionthly interest that fe due, IMhig ogous,
Ke amount of Interest thal is not paid gach month, called “Deferred talerast,” will be added to my Principat ang will gocrve interest at the
Same rate as the Principal,

(F} Limit on My Unpaid Principal; Increased Monthly Payment

My uapaid princigal balance cen never exceed $25% of the Panoclpal ( originally borrowed, called "Péncipal Batance Gap.” If, as
@ result of the addilon of deferred interest 1p my unpaid principal balance, Ue Principal Balance Cap limitetion vrayld ba sxcaeded on
the date that my monthly payment is dua, | will instaad pay a new monthly payment. Notwithstanding Sections 3(C) and 2{D} above, |
will pay a new monthly payment which fs equal to an amount that willbe sufficient to repay my then uapaid prinelpal balance in tial on
the Maturity Dale togatlar wah inuaresd, in substantially equal pay

(@) Final Payment Change
On the 10th Payment Ciange Oate my monthly payment will be calculated es descfibed in Section Q{D} above except that the
Payment Cap imilation wil not apply.

{Kh} Natica of Payment Changes

The Lender wik deliver or mali to me a notice of any changes in ihe amount of my morihly payment, calked "Payment Change
Notiea,” bafote each Payment Change Date,

4. FAILURE TO MAKE ADJUSTMENTS
Hi for any season Lender tails to make an adjustment to the payment amoust as descrived in ihis Note, regardless of any hotice
recuitartant, E agnea thal Lender may, upon discovery of aucn faire, then make the edjusiments as iT ihey had been made an time. |
8180 agrae nol to held Lender resp Jor any damages 1o me which may result tom Lenders fafure to make the adiugunent and ta
Tet ine Lander, at ite cation, apply any excess monies which | may have paid to partial prepayment of utpald Principal.

6. BORHOWER'S RIGHT TO PREPAY

{ have the right to make payments of Principal at any time before they are due. A payment of
Principal before it is dua fs called a “Prepayment”, When | make a Prepayment, t will tell the Lender in
writing that | am daing 39: The Lender may require that any partial Propayments be made on the date
my regularly scheduled payments are due. if | make a partial Prepayment, there will be no changes in
the dua dates of amount of my regularly scheduled payments unless the Lender agrees to thase
changes in writing. | may pay deferred interest on this Note at any time without charge and such
payment will net be considered a “Prepayment” of Prinsipai. Curing the fest 4 years of the loan term
if make one or more Prepayments that, in the aggregate, exceed $8,000 in any calendar marth, [
must pay a prepayment charge equal to 2% of the amount such Prepayments axcerd $5,000 In that
calendar month. After the first 3 years of the loan term, | may make @ full or partial Prepayment
without paying any prepayment charge.

§, MAXiMUM LOAN CHARGES
ita law. which apples fo this loan and which sels maximum fran chaeges, ls (nally interpreted so [hal the jaterest or olher lon
charges collecied or to be collected In connection wih this loon exceed the penntled dmite, then (i) any sua ioan charge shall be
feduced by ihe amaunt necegaaty te redueg the charge tg the permitted limit; and (if any sume aleady collected Kom me which
exdeaded permilted Emits wit be refurided te me. The Lender may choose to maxe this refund by reducing te Principal lowe undar this
Note gr hy making a direct payment {a me. (fa refund reduces Principal, thy reckretion wil be treated as a partial Prepayment,

7. BORROWER'S FAILURE TO PAY AS REQUIRED
(A) Late Ghargos for Overdue Payments
ithe Lender hag not received the full amount of any monthly paymens by the end af 90 calendar days ater ihe dale ft ts due, |
wil pay o late charge 10 the Landa, The amount of the charge wit be 6.004% of my overdue payment of Principat and interest, I will pay
itis late charge pronpily but only ones on gach late payment.

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Page 3 ap, os af ee
Case (>: £71 G0Q1006

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{B) Default

1 will be in defaull If (1 do not pay the full amount of aach monthly payment on the date itis dua; of fi} 1 fail to perform any of my
promises or agreements under ihis Nele or the Sccurly instrument; or (lip any statement made in my application for Mis bean was
materially false or misleading or if any statement in my appication for this taan was materially false or misleading by tesson Of ry
omission af sertain fects: or (iv) | haye made any other statement ta Lender sn conneciion wilh this loan that is catarially foe 91
miskading.

{C) Notice of Defauit

Hf aim in detautl, the Lender may send me a written notes, called “Nalice of Default” telling me thal if do not pay the oventue
amount by a certain date, the Lender may require me to pay immediately the orount of Principa? which has nol been paid and af We
ipfereed that | owe on that amount, plus any other amounts due under tha Sacuriy Insiiment,

{0} No Waiver by Lender
Even if, ata time when | am indelaul, ihe Lender dogs not requie me ta pay immediately in fui ny degetihed above, fhe Lender
will eal have the right to do so if Cars in defauil al a later tse.

4E} Payment of Lender's Casts and Expenses
The Lender wilt pave the cight to be paid back by me forall of te cosls and expenses in enforcing this Note to the extent rot
prohibiied by applicable law, Those expenses may includa, tor axampte, reasonable atomays’ lees and court costs.

8 «=. GIVING OF NOTICES

Yoless onplicable aw renuies a differen method, any notice that mus! be given to me under (his Note will be given by delivering
H or by mading it by first clagé mail to me or any Borawer at 828 N 29TH ST UNIT 146, PHILADELPHIA, PA
99430-1145, or ata single alternative address If [ give the Lender nofice of my atamative address. | may give nallce (o Lender ofa
change In my address In writing or by caling Lenders custamer sarvice telephone mimber provided on my billing slatereenl | may
designale only one mailing address at 4 fine for nolificalion praposes.

Except aa permitted above for changes of addiess, any notice that must be giver ty {he Lendier under this Note will be given by
maiting it by firs’ class mail te the Lendes at the address slated in Section 3{A) above of ala different address if | am given a notice of
that diffarant addrass.

4. OBLIGATIONS OF PERSONS UNGER THIS NOTE

If more than one person signs this Nota, dach person Is fully and personaly obligated to keap alf of the promises maae In this
Note, inchiding the promise to pay the fut amount owed, Any person who lakes over nese obligafions Js also obligated to keep all of
the promises made in this Note, The Lender may enfrece its sights under this Note against each parson Individuelly or against ail of us
together. This means that any one af us may be required te pay ail of the amounts owed under ihls Note,

it. WAWVERS

band any other person whe hag qaligaiions under this Note wala the rights of presemiment and notice of dishanor. “Presentment
means the right te require the Lender to demand payment of amounts due. "Hotice of Cishonor” means the right to require Ihe Lendar to
give nolice ta other persens thal amounts due have nat bean paid,

i. SEGURED NOTE - ACCELERATION

In addition to the prolections given to the Lender under this Nota, the Security inetiyment dated the same dale as this Note gives
ihe Lender seeurily ogeinst which ft may pronead if 1 do net Heep the sromises which E made In this Note. That Secunty Irstrument
describes how and under whal conditions I may be requited to make immediale paymsal in {ull of ail amounts lowe under this Nate and
inclhides the folowing Paragraph 262

AGAEEMENTS ABOUT LENDER'S RIGHTS If THE PROPERTY IS SOLD OR TAANSFERRED

Acceleration of Pa eeured, Lender may, at As oplon, raquire Immediele payment in fult of afl Sums
Secured ny this Securly Iratument H all or any part of the Property, or of any sighl in the Property, is so46 or Wansterred
MilioUt Lenders jitter iiitten pariiisslan. Lévider alee Tidy, at ite oplidd, ftquire uninediate payrnant in Cut Mf Bemawver is net
a natural Porsan and @ bdanalicial interest in Borrower ts sokd or traasfewed without Lenders prior written permission.
However, Leader shat not require Immediate paymord In WH if thes is peohibited by Federal Law In effect on the date of the
Securily Pnetrument.

it Lender exercises the aplion to require Immediate payment in full, Lander wil give me notice of acceleration. IF Tail to pay
all Sums Secured by this Security Insirumant ieamedigtaly, Lender may then or thereatar avoke any camedies permilted by
this Seeurity Insteumant wihout lurther notice to or decnund on me.

SDP (2005-09-2} [DOT {2006.09-2)) FRED PICKA-PAYMENT NOTE PA
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™ Case 1D: 171001006

42. GOVERNING LAW: SEVERAGILITY

This Nota shall be governed by and construdd under federal law and federal rules and regulations including those tor
federally chartered savings Instituligns, called "Federal lew." In the avent that any of the terms oF provisions of this Note are
anierpreted or construed by a cour of competent juisciction ip be vedd invalid or unenorgeabie, such decigiin shall alfact only those
provisions $0 constiséd oF Flwpreléd aad Shad not affect the remaining provisions af this Nole.

13. CLERICAL ERRORS
In tha event ihe Lender at any time discovers tat thig Note or the Security Instrument ar any other document related bo thie Joan,
sailed collectively the "Lean Documents." contains an error which was caused by a clerical mistake, calculitfion eror, computer era,
printing arror os similar ovror Eagree, upon notice from the Lender. to réexecule any Loan Documents (hat aré necessary to corect any
such error(s) and d algo ageee (het § wit not hold the Landar responsinis for any camags to me which may sesult fram any such error.

14. LOST, STOLEN OR MUTILATED DOCUMENTS

# any oj the Loan Documents are fost, stolen, muflated ar desoyad and the Lender defivers ta mia an indemnniflcaton in my
favor, signed by tha Lender, hw é will sign and debved to tha Lender a Lean Document identical in form and content which vill have ihe
effect of the eriginal for all purposes,

THIS SPACE INTENTIONALLY LEFT SLANK; SIGNATURE PAGE FOLLOWS

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SIGNATURE PAGE

NOTICE TO BORROWER(S):

BY SIGNING THIS NOTE YOU AGREE YO PAY A PREPAYMENT CHARGE iN CERTAIN
CIRCUMSTANCES. PLEASE CAREFULLY READ THIS ENTIRE NOTE (INCLUDING THE
PREPAYMENT PROVISION} BEFORE YOU SiGN iT,

WITNESS THE HAND{S) AND SEAL(S} OF THE UNDERSIGNED

{PLEASE SIGN YOUR NAME EXACTLY AS |T APPEARS BELOW)

BORROWERIS):

(geal)

DD

ABANI A JOHNSON

SD253 (2004.03-1) [14 (2004-00-01) Pago at 6 BA

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WITHOUT RECOURSE
PAY 1G THE ORDER OF

“appa Bank, N.A., successor by rnerger fo
ee Mole FSH, formerly kAQwn 35

Wosle Savings Back, FSB

ap LE Spratt

Sandra K. Parman
Vice President

WITHOUT RECOSRS

wie Fargo Baak, N. 6A
Wachovia Mortgage, FSAi¢fenperty kn
World Savings Bank, ESite" '

off’ De wn}

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Exhibit “B”

Case Ho: PPTGOTOG6

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LEGAL DESCRIPTION

ALL THAT CERTAIN trast or parce} of land located in the City of Philadelphia, County of Philadelphia,
Commonwealth of Pennsylyanon, more particularly bounded end degcribed as follows, to wit:

ALL THAT CEATAIN jot or piece of ground with the bulidinga and improvements thereon crected.

SITUATS: ia the S2nd Wand of the Cary of Philadelphia, deseribed according to a Survey ard Plan of Property
made for Kevon Park Apanments by Earl T. Boyer, Suneyor and Regulator of dte Tih Distnel,, dated May 23,
1O77, to Wir

BECINNING at sa fiterict point which Interior point is measured South 3 degrees, 52 minutes, 58 seconds Weat
the distance of) 16.104 foes from a point on dhe Southessterly side of Montgomety Avenue (7Ofaet wide} which
point is measured North 76 degrees, 564 minutes, 31 seconds East along the saad Southeasterly aide of
Mantgcincty Avert 207.998 fect from a pomt of inersgction formed by the anid Soutieantesly side of
Montgomery Avenue and the Northeasterly aide of Peash Street (40 feet wide} thence exiending from said point
of beginning South 70 degrees, $1 minutes, 17 seconds, Bast orpssing a concrete walkway and a flagstone walk
and pasging thru the average center of a party wall and crossing an existing concrets paving and a 1 foot wide
concrete coping the distance of 129.486 feel ta pode an the Northwesterly right of way Hae of Pennsylvania
SchuyJkif Valley Raitroad; thence South 1 dégroca, & minutes, 43 seconds West along the said Northwesterly
right of way line of Pennsylvania Schuylkill Valley Radivomd and the existing soaurete paving 28.60 feet ee
point, thence North 70 degrees, ${ minutes, 1F seconds West recrossing che concrete existing paving and the |
foot wide concrete coping and passing thru the average center of a party wall and crossing a gated and recrossing
the concrent. Walkway [21.837 feel ta a point thence North 3 degrees, 41 minutes, 58 seconds Bact crossing a
conte walkway 29.026 feet ima point; being the first mentioned point and plage of beginning

PROPERTY ADDRESS: 5200 WEST MONTGOMERY AVENUE, #15 A & B, A/K/A
5200-5 WEST MONTGOMERY AVENUE, PHILADELPHIA, PA 19131-3303

BRT#099N23-0136

File #: 97920]

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Exhibit “°C”

Case 1: V7 O01 006

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PHELAN HALLINAN DIAMOND & JONES , LLP

One Perr Center ats

Suge 1400
Panadelpua, |
215-564-7000

bax, 215-463 4534

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7 VEGAS, NY 88287

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constitute a waiver by the mortqege holder af the acceleration
unless agreed to in wrlling by the morvigege holdar.

You have the right to assert in the fereclosure proceedings
tae non-exisience of a detault or ary cther defense to

acceleration and foreclosure.

Very truly yours,

Fog 2 gee

dat en
PHELAN sau AWARGR & JONES, LLP

3

Coxtified Mail Numbers: Le
9214 0969 0096 4006 5348 D1
9214 8869 0096 4000 5948 18
9214 B969 0096 4b00 5348 25
9214 8969 GOSS 4000 5348 92
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